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     Attorney for Defendant
6
     TOMAS MENDOZA

7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
8
                                EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                       )       No. 2:13-CR-00095 JAM
11
                                                     )
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                              )       ORDER
13
                                                     )
14   TOMAS MENDOZA                                   )
                                                     )
                                                     )
15
                                                     )
            Defendant.                               )
16
                                                     )
                                                     )
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18

19                                       STIPULATION
            Plaintiff United States of America, by and through its counsel of record, and the
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21   defendant, by and through his counsel of record, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on May 28, 2013.
23
            2.      By this stipulation, the defendant now moves to continue the status conference
24
     until Ju ne 11, 2013, and to exclude time between May 28, 2013, to June 11, 2013, under Local
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     Code T4. Plaintiff does not oppose this request.
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27          3.      The parties agree and stipulate, and request that the Court find the following:

28          a.      The government has represented that the discovery associated with this case


                                                         1
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     includes approximately 136 pages of investigative reports, and 15 discs containing audio and
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2    video recordings, and related documents in electronic form. All of this discovery has been either

3    produced directly to counsel and/or made available for inspection and copying.
4
            b.      The parties are working on putting a plea agreement in writing. Counsel for the
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     defendant desires additional time to consult with his client, to review the current charges, to
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7
     conduct investigation and research related to the charges, to review and copy discovery for this

8    matter, and to discuss potential resolutions with his client.
9           c.      Counsel for the defendant believes that failure to grant the above-requested
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     continuance would deny him the reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence.
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13          d.      The government does not object to the continuance.

14          e.      Based on the above-stated findings, the ends of justice served by continuing the
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     case as requested outweigh the interest of the public and the defendant in a trial within the
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     original date prescribed by the Speedy Trial Act.
17
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
18

19   et seq., within which trial must commence, the time period of May 28, 2013, to June 11, 2013,

20   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
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     because it results from a continuance granted by the Court at defendant’s request on the basis of
22
     the Court's finding that the ends of justice served by taking such action outweigh the best interest
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24
     of the public and the defendant in a speedy trial.

25                  4.      Nothing in this stipulation and order shall preclude a finding that other
26   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
27
     period within which a trial must commence.
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                                                          2
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2    IT IS SO STIPULATED.

3    Dated: May 24, 2013                              BENJAMIN WAGNER
                                                      U.S. ATTORNEY
4

5                                               by:   /s/ David D. Fischer for
                                                      MICHAEL MCCOY
6                                                     Assistant U.S. Attorney
7
                                                      Attorney for Plaintiff

8
     Dated: May 24, 2013                              /s/ David D. Fischer
9                                                     DAVID D. FISCHER
10
                                                      Attorney for Defendant
                                                      TOMAS MENDOZA
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12
                                        ORDER
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     IT IS SO FOUND AND ORDERED this 24th day of May, 2013.
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18
                                          /s/ John A. Mendez________________________
19                                        HON. JOHN A. MENDEZ
                                          UNITED STATES DISTRICT COURT JUDGE
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